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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

KEVIN BRICK, ET AL.,

            Plaintiffs,                           Case No. 24-cv-12090
                                                  Hon. Brandy R. McMillion
v.

THE UNIVSERITY OF MICHIGAN,

          Defendant.
__________________________________________________________________/

                          ORDER DISMISSING CASE

      Pursuant to the Notice of Voluntary Dismissal Without Prejudice by Plaintiffs

(ECF NO. 11), this case is DISMISSED WITHOUT PREJUDICE and

Defendant’s Motion to Dismiss (ECF NO. 8) is DENIED AS MOOT.

      IT IS SO ORDERED.

                                      s/Brandy R. McMillion
                                      BRANDY R. MCMILLION
                                      UNITED STATES DISTRICT JUDGE

Dated: December 6, 2024


       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on December 6, 2024, by electronic means and/or
ordinary mail.

                                      s/L. Hosking
                                      Case Manager
